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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


SONOS, INC.,

               Plaintiff,

      vs.                                Case No. 6:20-cv-00881-ADA
GOOGLE LLC,

               Defendant.



              DECLARATION OF LINDSAY COOPER IN SUPPORT OF
            GOOGLE LLC’S RULE 12(B)(3) MOTION TO STAY OR DISMISS
                   PURSUANT TO THE FIRST-TO-FILE RULE
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         I, Lindsay Cooper, declare and state as follows:

         1.     I am an associate at Quinn Emanuel Urquhart & Sullivan, LLP representing

Google LLC (“Google”) in this matter. If called as a witness, I could and would testify

competently to the information contained herein.

         2.     Attached hereto as Exhibit 1 is a true and correct copy of a September 28, 2020

Email and attachment from Alaina Kwasizur to Bradley Riel and Tim Kowalski.

         3.     Attached hereto as Exhibit 2 is a true and correct copy of the Complaint for

Declaratory Judgment filed in Google LLC v. Sonos, Inc., No. 3-20-cv-06754 (N.D. Cal. Sep. 28,

2020).

         4.     Attached hereto as Exhibit 3 is a true and correct copy of Sonos’s Motion to

Dismiss or Transfer to the Western District of Texas filed in Google LLC v. Sonos, Inc., No. 3-

20-cv-06754 (N.D. Cal. Sep. 28, 2020).

         5.     Attached hereto as Exhibit 4 is a true and correct copy of Google’s Opposition to

Sonos’s Motion To Dismiss Or Transfer to the Western District of Texas filed in Google LLC v.

Sonos, Inc., No. 3-20-cv-06754 (N.D. Cal. Sep. 28, 2020).

         6.     Attached hereto as Exhibit 5 is a true and correct copy of Sonos’s Reply Brief in

Support of Its Motion To Dismiss Or Transfer to the Western District of Texas filed in Google

LLC v. Sonos, Inc., No. 3-20-cv-06754 (N.D. Cal. Sep. 28, 2020).

         7.     Attached hereto as Exhibit 6 is a true and correct copy of the ECF notification for

the docket entry associated with the Clerk’s Notice Resetting Motion Hearing and Initial Case

Management Conference as entered in Google LLC v. Sonos, Inc., No. 3-20-cv-06754 (N.D. Cal.

Sep. 28, 2020).

         8.     Attached hereto as Exhibit 7 is a true and correct copy of a July 16, 2013

agreement between Google and Sonos.


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       9.       Attached hereto as Exhibit 8 is a true and correct copy of a November 14, 2013

agreement between Google and Sonos.

       10.      Attached hereto as Exhibit 9 is a true and correct copy of the webpage

https://www.sonos.com/en-us/contact.

       11.      Attached hereto as Exhibit 10 is a true and correct copy of the LinkedIn Profile of

Robert Lambourne.

       12.      Attached hereto as Exhibit 11 is a true and correct copy of the Westlaw Public

Records Report of Arthur Coburn IV.

       13.      Attached hereto as Exhibit 12 is a true and correct copy of the LinkedIn Profile of

Joni Hoadley.

       14.      Attached hereto as Exhibit 13 is a true and correct copy of U.S. Patent No.

8,239,559.

       15.      Attached hereto as Exhibit 14 is a true and correct copy of the LinkedIn Profile of

Ravi Rajapakse.

       16.      Attached hereto as Exhibit 15 is a true and correct copy of U.S. Patent

Application Publication No. 2008/0120501 A1.

       17.      Attached hereto as Exhibit 16 is a true and correct copy of the LinkedIn Profile of

Jan Jannink.

       18.      Attached hereto as Exhibit 17 is a true and correct copy of the LinkedIn Profile of

Timothy E. McGraw.

       19.      Attached hereto as Exhibit 18 is a true and correct copy of U.S. Patent No.

7,720,686.

       20.      Attached hereto as Exhibit 19 is a true and correct copy of the webpage

https://www.pandora.com/static/careers/location-oak.html.


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       21.       Attached hereto as Exhibit 20 is a true and correct copy of the LinkedIn Profile of

Andrew Volk.

       22.       Attached hereto as Exhibit 21 is a true and correct copy of the Westlaw Public

Records Report of Erik Reed.

       23.       Attached hereto as Exhibit 22 is a true and correct copy of European Patent No.

2986034B1.

       24.       Attached hereto as Exhibit 23 is a true and correct copy of the webpage

https://www.dolby.com/about/support/dolby-offices-worldwide/#americas.

       25.       Attached hereto as Exhibit 24 is a true and correct copy of the LinkedIn Profile of

Alan Seefeldt.

       26.       Attached hereto as Exhibit 25 is a true and correct copy of the webpage

https://www.flightconnections.com/flights-to-waco-act, which reflects the results of a search for

direct flights to Waco, Texas.

       27.       Attached hereto as Exhibit 26 is a true and correct copy of the results of a search

on https://www.google.com/travel/flights for flights between Santa Barbara, California and San

Francisco, California.

       28.       Attached hereto as Exhibit 27 is a true and correct copy of the webpage

https://www.flightconnections.com/flights-from-boston-bos, which reflects the results of

searches for direct flights from Boston, Massachusetts to San Francisco, California.

       I declare under penalty of perjury that to the best of my knowledge the foregoing is true

and correct. Executed on November 18, 2020, in San Francisco, California.



                                                    /s/ Lindsay Cooper
                                                    Lindsay Cooper



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